Case 1:14-cv-01317-RGA Document 905 Filed 03/25/19 Page 1 of 28 PagelD #: 74844

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF DELAWARE

AMGEN INC., AMGEN MANUFACTURING
LIMITED, and AMGEN USA INC.,

A. No. 1:14-01317-RGA
CONSOLIDATED)

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Plaintiffs,

—

Vv.

SANOFI, SANOFI-AVENTIS U.S. LLC,
AVENTISUB LLC, f/d/b/a AVENTIS
PHARMACEUTICALS INC., and REGENERON

PHARMACEUTICALS, INC., REDACTED - PUBLIC VERSION

Defendants. Filed: March 25, 2019

DEFENDANTS’ OPENING BRIEF IN SUPPORT OF MOTION UNDER

FED. R. CIV, P. 5078) FOR JUDGMENT AS A MATTER OF LAW

 
Case 1:14-cv-01317-RGA Document 905 Filed 03/25/19 Page 2 of 28 PagelD #: 74845

 

TABLE OF CONTENTS

Page

T. INTRODUCTION sceccccscccsccsssssssscsssccscseccccccsssressssnnssececussussessisecesussssnssssssaseseescese 1
TL. LEGAL STANDARD. ccceescsssssssssssssssssssssssvsssssssssssssssssssssssssssssssssesseseneessescereeeeeesens 2
TIE. = BACKGROUND wovvsesssscsscsssssssssssssssssssessecessssssssssassssssssssssssssesssssssssssenssssnssssesssse 2

A. There Was No Legaily Sufficient Evidentiary Basis For a Reasonable
Jury to Conclude that the Claims Satisfy the Written Description
REQUIPEMENL...... cc cesessessssseeteorsceeeeereessennneasneserssensssusseusseusessseseesecesensunreenees 4

1. The Evidence is Insufficient te Conclude that the Patents
Disclose Species that are Representative of the Claimed Genus.... 5

2. The Evidence is Insufficient to Conclude that the Patents
Disclose Structural Features Common to the Members of the
GCTIUS., ..cccccessecsssnccccsecssececessesescccccuacensesseeeessseeseeeceonsceesssesseceanneneeeeeess 9

a. Amgen Improperly Focused on the PCSK9 Anti gen to
Identify “Common Structural Features” of the Claimed

Antibodies, 00... eceeeeeceeeersseserssessssssesseeessenersenerseseateseseaees 10
b. Amgen Failed to Identify “Common Structural
Features” of the Claimed Antibodies, .0.........:scsssseeeees 12

B. There Was No Legally Sufficient Evidentiary Basis For a Reasonable
Jury to Conclude that the Claims Satisfy the Enablement Requirement. . 13

i, The Vast Majority of Antibodies Within the Full Scope of the

Claims Are Impossible to Make. ou... cccsesseeeeesesssesseseeeeenssasevers 14
2. The Wands Factors Establish that Practicing the Full Scope of
the Claims Requires Undue Experimentation. .......ccccsesereee 15
a. Breadth of the Claims, ........:ccccceeceeceeceeceeeteetsetseeseeseesseeees 15
b. Nature of the Invention; State of the Art; Relative Skill
of Those in the Art; Predictability of the Art... 16
c. Number of Working Examples; Amount of Direction

PLOVIAEd. occ eeesseccsssseeeesenreeerereeseesareeseuseneusennentaces 17

 
Case 1:14-cv-01317-RGA Document 905 Filed 03/25/19 Page 3 of 28 PagelD #: 74846

d. Quantity of Experimentation Needed ...... cesses L7
e. Summary of Wards Factors .......:cesssssssovssssssssssensssneeseees 20

V. CONCLUSION wise eessssseseenecsesseeneeneeseeseestassnsseusessessnsaseneeseeseeseesusaessessesanseserseees 20

ii
Case 1:14-cv-01317-RGA Document 905 Filed 03/25/19 Page 4 of 28 PagelD #: 74847

 

TABLE OF AUTHORITIES
Page(s)

Cases
AbbVie Deutschland GmbH & Co., KG v. Janssen Biotech, Inc.,

759 F.3d 1285 (Fed. Cir, 2014)... ccccscccscsccceseavsevsssenscsesssecssesssterssessscssssssssseseeaeenvenees passim
ALZA Corp. v. Andrx Pharm., LIC,

603 F.3d 935 (Fed. Cir, 2010)... sscscssecesveevssrsssesosssesceneesssssessecsessesseseeseeseeveeseseassenserreess 18
Amgen Ine. v. Sanofi,

872 F.3d 1367 (Fed. Cir, 2017)... ccssscccssssessscccsssscsnssceecsscsesssscseesseceesenresesseerseeses 4,5, 9, 10
Ariad Pharms., Inc. v. Eli Lilly & Co.,

598 F.3d 1336 (Fed. Cir, 2010) (61 banc)... iccccsseesseeseseeesecceeesssccssensssessesensensersesestanens passim
Centocor Ortho Biotech, Inc, v, Abbott Labs.,

636 F.3d 1341 (Fed. Cir, 201 1)scccsssscssssscccccssesssssssesssssssssesssssssssseecessssseceeerssnsseseeseseeennsuaneesenen 5
Dawson y. Dawson,

710 F.3d 1347 (Fed. Cir, 2013)scscssssssssssessssssssssesssssssssseseessssessssssesssessssvecesesssnneessseeeeeennnteseee 19
Idenix Pharm. LLC v. Gilead Scis., Inc.,

No. 14-846-LPS, 2018 WL 922125 (D. Del. Feb. 16, 2018)... ccccsecsecsecsessssscnsessereerserneees 14
Lightning Lube, Inc. v. Witco Corp., .

A F.3d 1153 (3d Cir. 1993)... ceeesessessseesscersrsenessssesssssesssssssssssssssseeaecessaeseeseeesesesesenassessneeees 2
MagSil Corp. v. Hitachi Glob. Storage Techs., Inc.,

687 F.3d 1377 (Fed. Cir. 2012)... esseccssesssenensessssssssssenssesnssserssnsenseaeseeseaeseeeseesesseesenas 13, 20
MorphoSys AG v. Janssen Biotech, Inc.,

__F, Supp. 3d _, No. 16-221-LPS, 2019 WL 337091 (D. Del. Jan. 25, 2019)... passim
Pannu v. lolab Corp.,

155 F.3d 1344 (Fed. Cir, 1998)... cscccsscccsceetectsnesscsscscnesessssessessasesssnsusensasessrsecsersenesnsseeneneenes 2
Trustees of Boston Univ. v. Everlight Elecs. Co.,

896 F.3d 1357 (Fed, Cit. 2018)... .cessssscssrsesscssessstssccessssessecetsessavsscssssesssessssecensseseenenes 1, 13, 14
United States v. Santos-Granados,

2008 WL 401378 (D. Ariz. Feb, 12, 2008)... cccssessesssssessssescsccccusesssasessssneasseeeesseseeensseees 4
inre Wands,

858 F.2d 731 (Fed. Cir, 1988)... cccecscssenesnereereesenseenssenseninnneuecsesesessesesseenscesseenasssens 14,15

iii

 
Case 1:14-cv-01317-RGA Document 905

Wyeth & Cordis Corp. v. Abbott Labs.,

Filed 03/25/19 Page 5 of 28 PagelD #: 74848

720 F.3d 1380 (Fed. Cir. 2013)... cesssesetsesesssrsrsrssesssseneenesneneosessresesserseeeseseeseesnseaseneetes 16, 18
Other Authorities
Fed, R. Civ. P. 50(a)-(b) oo... cececcccsssscsscssensereerseeccensnsseceessesseedeeseeseeseeaeessesecsessessesseedcedeesseepansensennenee 2

iv
Case 1:14-cv-01317-RGA Document 905 Filed 03/25/19 Page 6 of 28 PagelD #: 74849 |

 

L INTRODUCTION

Defendants move for an order granting judgment as a matter of law (JMOL) because no

reasonable jury could conclude from the evidence that the three remaining claims of Amgen’s

 

patents (the “Claims”) satisfy the written description or enablement requirements of 35 U.S.C.
§112.! Where a patent functionally claims a genus of antibodies, the specification must describe
either structural features common to all members of the genus, or representative antibodies that

“reflect the structural diversity of the claimed genus.” AbbVie Deutschland GmbH & Co., KG v.

 

Janssen Biotech, Inc., 759 F.3d 1285, 1301 (Fed. Cir. 2014) (emphasis added). Furthermore, the

specification must enable one skilled in the art to practice the “full scope” of the invention

 

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without “undue experimentation,” and cannot enable what is “physically impossible.” Trustees

of Boston Univ. v. Everlight Elees. Co., 896 F.3d 1357, 1362 (Fed. Cir. 2018) CEverlight”). The
undisputed evidence here demonstrated that neither requirement is met. Among other things:

e The Claims contain only functional, not structural, limitations; specify at least tens of
thousands of different antibodies; and potentially cover millions of different antibodies. A
skilled person would have to test antibodies to determine if they fal] within the Claims’ scope.

¢ The 26 disclosed antibodies upon which Amgen relies to show adequate written description
have amino acid sequences that are dramatically different from the amino acid sequences of
other antibodies known to fall within the scope of the Claims. Amgen’s patents thus do not
reflect the structural diversity of the claimed genus.

e The 26 antibodies also differ dramatically from other antibodies known to fall within the
scope of the Claims in terms of the location on PCSK9 where the antibodies bind, the
number of PCSK9 amino acid residues to which they bind, and the specific PCSK9 residues
to which they bind, Indeed, although the Claims encompass antibodies that bind up to 15
“sweet spot” PCSK9 residues, Amgen’s disclosed antibodies only bind up to 8 residues—
fewer than Defendants’ Praluent, which binds to 12 residues.

e Amgen principally identified common structural features—the “sweet spot” residues—of the
relevant antigen, PCSK9. No structure-function correlation exists between an antibody’s

 

' The Claims are 19 and 29 of U.S, Patent No. 8,829,165 (165 patent”) and 7 of U.S, Patent No.
8,859,741 (“741 patent”). The undisputed priority date is January 9, 2008, the date on which
U.S. App. 61/010,630 was filed (“2008 Application”). See, ¢.g., 193:4-17.

 
Case 1:14-cv-01317-RGA Document 905 Filed 03/25/19 Page 7 of 28 PagelD #: 74850

amino acid sequence and its binding to an antigen (or vice-versa). Any purportedly common
structural features of the antibodies were cither not in the patents as of the priority date or do
not distinguish claimed from unclaimed antibodies.

e The vast majority of antibodies within the full scope of the Claims are, according to Amgen’s
own evidence, impossible to make.

« Making the tens of thousands to millions of antibodies encompassed by the Claims requires
undue experimentation because the only way to make new antibodies within the scope of the
Claims is either to randomly generate pools of antibodies or to make substitutions to known

antibodies, then test every resulting antibody to determine if it binds to the specified PCSK9 |
residues—a time-consuming, unpredictable, trial-and-error process.

In short, this case exemplifies the kind of overbroad claims that the written description
and enablement requirements are designed to prevent. Because no reasonable jury could
conclude from the evidence that the Claims satisfy 35 U.S.C. §112, JMOL is warranted.

It. LEGAL STANDARD

The Court may “direct the entry of judgment as a matter of law” following a jury verdict
if “the court finds that a reasonable jury would not have a legally sufficient evidentiary basis to
find for the party” who prevailed at trial. Fed. R. Civ. P. 50(a)-(b). “The question is not whether
there is literally no evidence supporting the party against whom the motion is directed but
whether there is evidence upon which the jury could properly find a verdict for that party.”
Lightning Lube, Inc. v. Witeo Corp., 4 F.3d 1153, 1166 (3d Cir, 1993). A party seeking post-trial
JMOL “must show that the jury’s findings, presumed or express, are not supported by substantial
evidence or, if they were, that the legal conclusion(s) implied by the jury’s verdict cannot in law
be supported by those findings.” Pannu v. lolab Corp., 155 F.3d 1344, 1348 (Fed. Cir. 1998).

TIL. BACKGROUND

The Claims are directed to antibodies that bind to various combinations of specified
amino acid residues on a target antigen, PCSK9, and thereby block the interaction between

PCSK9 and the LDL receptor (“LDLR”). °165 Patent at claims 19, 29; °741 patent at claim 7.

 
Case 1:14-cv-01317-RGA Document 905 Filed 03/25/19 Page 8 of 28 PagelD #: 74851

Antibodies are comprised of a string of amino acids, the “building blocks” of antibodies.
184;23-25; Ex. 1 (REM-DDTX1.15). The sequence of amino acids for any particular antibody—
ie., the order of amino acids—is considered the “primary structure” of that antibody. 781:15-24
(Rees); 307:16-20 (Boyd); see also 685:25-686:2 (Petsko). The sequence is also the “recipe” or
“formula” for making that antibody, 447:15-17; 781:15-782:1; 790:6-8; when Amgen later
sought to remake some of the antibodies described in the 2008 Application, it relied on the
amino acid sequences of those antibodies, 789:22-790:4; 790:14-19. Amino acid sequence thus
constitutes a complete description of an antibody’s structure. 447:15-17. Amgen’s 2008
Application provides the amino acid sequences for the antibodies that Amgen found. 2008
Application at Figs. 2A-3JJ; 782:9-11.

Because the Claims recite only the purely functional limitation of binding to at least one
or two of the 16 recited PCSK9 amino acid residues, their breadth is vast.? Based just on the
different combinations of PCSK9 residues recited in the Claims, the Claims encompass at least
tens of thousands of antibodies, For each of Claims 19 and 29 of the 7165 patent—encompassing
antibodies binding to “at least two” of the 15 listed “sweet spot” PCSK9 residues—a total of
32,752 different combinations of residues could be bound; therefore, each claim covers at least
32,752 antibodies. Claim 7 of the ’741 patent—encompassing antibodies binding to at least

R237 or D238 (and those binding to any combination of R237 or D238 and the other PCSK9

 

? The Claims recite a total of 16 PCSK9 residues, see 7165 patent at claims 19, 29; ’741 patent at
claim 7; however, Amgen asserts that only 15 of these residues comprise the “sweet spot.”
524:11. Although the Claims facially describe two functions—binding and blocking—the
patents’ lead inventor, Amgen’s Dr. Jackson, admitted that blocking is duplicative of binding:
“Talny antibodies that were binding” to one or two of the recited amino acid residues of PCSK9
“would be blockers.” 534:22-23. The only relevant function, therefore, is binding, which all
agree “is a function.” 470:10-12 (Eck); see also 649:1-9 (Petsko) (acknowledging that
“bind[ing] to” the specified residues is a “function[] of the claim”).
Case 1:14-cv-01317-RGA Document 905 Filed 03/25/19 Page 9 of 28 PagelD #: 74852

residues listed in claims 19 and 29 of the ’165 patent)—covers at least 49,152 antibodies.

But this is just the tip of the iceberg. Both parties agree that the size of the genus is
unknown, 731:12-732:8 (Rees) (“I can’t give you a number on what the total is.”); 599:6-13
(Jackson) (“I don’t know a specific number.”). Defendants’ expert Dr. Boyd testified that
according to the suggestions in the 2008 Application’s specification for making additional
antibodies—which involve making “[p]referred [s]ubstitutions” to the amino acid sequences of
disclosed antibodies—the Claims encompass “at least millions” of antibodies. 219:20-220:14.
Amgen’s expert Dr. Rees admitted that any one of the “millions of antibodies that Dr. Boyd
described” could “fall within the claims,” but nobody would try this because it would result in
“an enormous amount of work making millions ... of antibodies.” 733:2-11.

ARGUMENT

A. There Was No Legally Sufficient Evidentiary Basis For a Reasonable Jury to
Conclude that the Claims Satisfy the Written Description Requirement

The written description requirement ensures “that the inventor actually invented the
invention claimed.” Amgen Inc. v. Sanofi, 872 F.3d 1367, 1373 (Fed, Cir. 2017) (quoting Ariad
Pharms,, Inc. v. Eli Lilly & Co., 598 F.3d 1336, 1351 (Fed. Cir. 2010) (en banc)). It ensures that
“the scope of the right to exclude, as set forth in the claims, does not overreach the scope of the
inventor’s contribution to the field as described in the patent specification.” Ariad, 598 F.3d at
1353-54. The risk of inadequate written description is “especially acute with genus claims that,”
as here, “use functional language to define the boundaries of a claimed genus.” Jd. at 1349.
Such claims “may simply claim a desired result ... without describing species that achieve that

result,” constituting an impermissible “attempt[] to preempt the future before it has arrived.” Jd.

 

> Mathematical computations underlying these numbers are set forth in the Appendix. Courts
routinely take judicial notice of such computations. See, e.g., United States v. Santos-Granados,
2008 WL 401378, at *3 n.3 (D. Ariz. Feb, 12, 2008).

 
Case 1:14-cv-01317-RGA Document 905 Filed 03/25/19 Page 10 of 28 PagelD #: 74853

at 1349, 1353; see also AbbVie, 759 F.3d at 1301 (observing that “[fJunctionally defined genus
claims can be inherently yulnerable to invalidity challenge for lack of written description
support”). The Federal Circuit has repeatedly granted JMOL on written description grounds
when confronting functionally defined genus claims to antibodies. See, e.g., Centocor Ortho
Biotech, Inc. v. Abbott Labs., 636 F.3d 1341, 1344 (Fed. Cir, 2011); Ariad, 598 F.3d at 1340. |
Where “a patent claims a genus using functional language to define a desired result,” the
patent specification must “show[] that the applicant has invented species sufficient to support a
claim to the functionally-defined genus.” AbbVie, 759 F.3d at 1299. “To provide thle] ‘precise
definition’ for a claim to a genus, a patentee must disclose [1] ‘a representative number of
species falling within the scope of the genus or [2] structural features common to the members of
the genus so that one of skill in the art can “visualize or recognize” the members of the genus.””
Amgen, 872 F.3d at 1373 (quoting Ariad, 598 F.3d at 1350), And in the antibody context, the
patentee “must adequately describe representative antibodies to reflect the structural diversity of
the claimed genus”—and, specifically, “describe some species representative of antibodies that
are structurally similar to” infringing antibodies. AbbVie, 759 F.3d at 1301 (emphases added),

1. The Evidence is Insufficient to Conclude that the Patents Disclose
Species that are Representative of the Claimed Genus.

To satisfy the “representative species” test, a patentee must “show that [it] has truly
invented the genus, i.e., that [it] has conceived and described sufficient representative species
encompassing the breadth of the genus.” Id. at 1300 (emphases added). Amgen asserts that it
has disclosed 26 antibodies (the “Amgen Antibodies”) in its 2008 Application that are covered

by its Claims. 598:6-9," But a comparison of the 26 Amgen Antibodies to other antibodies that

 

* Although Amgen invokes 26 antibodies (a fact that Defendants do not dispute here), the 2008
Application discloses only tvo antibodies—21B12 and 31H4—that were definitively shown to
bind to the specified PCSK9 residues (via x-ray crystallography) and that thus definitively fall

 
Case 1:14-cv-01317-RGA Document 905 Filed 03/25/19 Page 11 of 28 PagelD #: 74854

indisputably fall within the scope of the Claims demonstrates that the 2008 Application, as a
matter of law, simply does not disclose “sufficient representative species” encompassing the vast
breadth and variability of the full scope of Amgen’s functionally claimed genus.

Amgen’s competitors—Defendants, Merck, and Pfizer—each discovered such
antibodies; they are Praluent, 1D05, AX132, and J16 (together, the “Competitor Antibodies”). It
is undisputed that the Competitor Antibodies are within the Claims’ scope and that the 2008
Application does not disclose them, 151:5-8; 191:10-192:12; 546:23-24, And whether one
considers structure or function, the undisputed evidence demonstrates that the 26 Amgen
Antibodies, as a matter of law, are not representative of the Competitor Antibodies—or, a
fortiori, the tens of thousands to millions of other antibodies falling within Amgen’s Claims.

First and foremost, the structures of the Amgen Antibodies are materially different from
the structures of the Competitor Antibodies and thus do not “reflect the structural diversity of the
claimed genus,” as required. AbbVie, 759 F.3d at 1301. Defendants’ experts testified that the
Amgen Antibodies are not representative of the Competitor Antibodies given the vast differences
in the antibodies’ “primary structure’—their amino acid sequences. 236:8-10 (Boyd); 423:11-
424:2 (Eck); see AbbVie, 759 F.3d at 1300-01 (assessing representativeness by comparing amino
acid sequences): pp. 3, supra. Specifically, Dr. Boyd compared the amino acid sequences of the
heavy chain CDR3 segments of each of the 26 Amgen Antibodies to the amino acid sequences of
the heavy chain CDR3 segments of each of the four Competitor Antibodies. 230:23-234:4,
234:17-236:10; see Ex. 2 (REM-DDTX1.38-REM-DDTX1.39). It is undisputed that an

antibedy’s heavy chain CDR3 segment is “the most important region of the antibody for

 

within the scope of the Claims. For the remaining 24 antibodies, Amgen relied on data derived
after the priority date or from other methods that do not definitively establish whether an
antibody falls within the scope of the Claims. See 303:7-18, 328:3-13; see also Rule 59 motion
at 14-20 (noting that Amgen was improperly permitted to rely on data not in 2008 Application).

 
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Case 1:14-cv-01317-RGA Document 905 Filed 03/25/19 Page 12 of 28 PagelD #: 74855

determining binding.” 782:21-783:3 (Rees). Based on his comparisons, Dr. Boyd concluded
that the Amgen Antibodies “[a]re not representative,” because “[t]hey don’t look anything like
the competitor antibodies in terms of their sequences.” 236:4-10,

Amgen did not dispute this fact or even present any of its own structural comparisons.

 

On the contrary, Amgen’s expert, Dr. Rees, admitted that the Competitor Antibody amino acid
sequences “are also completely different one from another” and acknowledged “the [sequence]
differences between all of the antibodies.” 768:12-20. Amgen thus concedes that its patents do
not describe “some species representative of antibodies that are structurally similar to” infringing
antibodies—specifically, the Competitor Antibodies. 465Vie, 759 F.3d at 1301. For this reason
alone—the failure to “reflect the structural diversity of the genus”—the Amgen Antibodies are
“not representative of the full variety or scope of the genus.” Jd. at 1300-01; see also id.
(holding that two hundred disclosed antibodies are not representative of functional genus).

Second, as to function, the Amgen Antibodies are materially different from the
Competitor Antibodies in three separate ways: (1) the location on PCSK9 where the antibodies
bind, (2) the number of PCSK9 residues to which the antibodies bind, and (3) the particular
PCSK9 residues to which the antibodies bind. The relevant evidence is undisputed.

Regarding location, none of the 26 Amgen Antibodies is an EGFa mimic, which is “a
kind of antibody that binds to PCSK9 ... that basically s[i]t[s] right on top of PCSK9, the same
way that the EGFa part of the LDL receptor d[oes] ... [and] interact[s] with PCSK9 with its

antibody loops in a way that mimics some of the structure of the LDL receptor EGFa domain

 

itself.” 206:17-207:21.° Defendants’ expert testified that although the Claims “cover EGFa

mimic type antibodies,” Amgen “never identified an antibody like that” in its disclosure. 332:7-

 

>’ The “EGFa domain” is the portion of the LDL receptor to which PCSK9 binds. 206:20-24,
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Case 1:14-cv-01317-RGA Document 905 Filed 03/25/19 Page 13 of 28 PagelD #: 74856

11. By contrast, the Competitor Antibodies do include such antibodies. See 207:24-210:4
(describing Pfizer and Merck antibodies as “EGFa mimics”). Amgen disputed none of this.

Regarding the number of PCSK9 residues to which the claimed antibodies bind, it is
undisputed that ail of the Competitor Antibodies bind to at least 11 of the “sweet spot” PCSK9
residues specified in the Claims. See Ex. 3 (REM-DDTX1.40); 300:19-22. But it is equally
undisputed that nof one Amgen Antibody binds to at least 9 “sweet spot” residues, See Ex. 3;
236:17-240:14; 300:24-301:3; 301:16-21 (Dr. Boyd testifying that these differences render the
Amgen Antibodies unrepresentative of the Competitor Antibodies). After repeatedly dodging
the question, Dr. Jackson ultimately conceded that, although the Claims encompass antibodies
that bind up to 15 “sweet spot” amino acids, “we don’t have an antibody in the patent that we
know binds 15 amino acids’—or, he added, 14, 13, 12, or 11 amino acids. 535:18-537:12;
608:10-12. And yet, Dr. Jackson insisted that “if someone tomorrow for the first time in history
invents” an antibody binding to 15 amino acids, it would infringe the Claims. 535:23-536:7.

The implications of these admissions are staggering. Tirst, they demonstrate that the
Claims encompass entire categories of antibodies not disclosed in the specification—categories
that include the infringing product, Praluent. Amgen has claimed antibodies that bind to up to
15 “sweet spot” PCSK9 residues (including Pratuent, which binds to 12 residues), but concedes
that it only described antibodies that bind up to 8 such residues. This is a blatant example of “the
scope of the right to exclude ... overreachfing] the scope of the inventor’s contribution to the
field of art as described in the patent specification.” Ariad, 598 F.3d at 1353-54, Second, by
admitting that “if someone tomorrow for the first time in history invents” an antibody that binds
to 15 residues, that antibody would infringe the Claims, Dr. Jackson has confirmed beyond all

doubt that Amgen is “attempt[ing] to preempt the future before it has artived.” Jd. at 1353.

 
Case 1:14-cv-01317-RGA Document 905 Filed 03/25/19 Page 14 of 28 PagelD #: 74857

Regarding the particular PCSK9 residues to which the antibodies bind (as opposed to the
number), the evidence is likewise legally deficient. Of the 15 “sweet spot” residues identified in
the Claims, there are three—C378, S372, and C375—to which not one Amgen Antibody binds.
By stark contrast, ail four of the Competitor Antibodies bind to C378, three bind to $372, and
three bind to C375. Ex. 3, 420:12-14; 421:1-5.° Again, the evidence demonstrates that Amgen
has not “described sufficient representative species encompassing the breadth of the genus” that
it has claimed. AbdbVie, 759 F.3d at 1300 (emphasis added). By failing to describe antibodies
that bind to a number of the residues comprising its vaunted, 15-residue “sweet spot” on PCSK9,
Amgen has not “actually invented the invention claimed.” Amgen, 872 F.3d at 1373.

Finally, it bears emphasizing that all of the foregoing differences concern the material
distinctions between just the disclosed Amgen Antibodies and four antibodies within the scope
of the Claims—the Competitor Antibodies. But as noted, there are ters of thousands to millions
of antibodies within the scope of the Claims. See pp. 3-4, supra. If the four Competitor
Antibodies are any indication, were those millions of additional antibodies ever discovered, they
would also likely be sufficiently different from the Amgen Antibodies so as to further underscore
the non-representativeness of the handful of disclosed species as compared to the genus claimed.

2. The Evidence is Insufficient to Conclude that the Patents Disclose
Structural Features Common to the Members of the Genus.

The “common structural features” test requires a patentee to disclose “structural features

common to the members of the genus” such that “one of skill in the art can ‘visualize or

 

® Amgen’s expert also provided another example of a different type of antibody specified by the
Claims that nobody can visualize based on the 2008 Application: Dr. Petsko thought “it should
be possible to make “bridging” antibodies that bind to two residues on opposite sides ... of the
sweet spot region like this, if the antibody had a kind of curved structure that missed this stuff in
the middle.” 692:1-693:20. But such an antibody, if possible to make, would be unlike any of
the 26 Amgen Antibodies, because it would need to have the “curved structure” required to hit
residues on either side of the “sweet spot” but miss the middle. 692:1-693:15.
Case 1:14-cv-01317-RGA Document 905 Filed 03/25/19 Page 15 of 28 PagelD #: 74858

recognize’ the members of the genus.” Ariad, 598 F.3d at 1350. Defendants’ experts testified
that the Claims fail this test. Dr. Eck concluded that he could not “find ... anywhere in the

patent where they’re pointing to a structural element that makes things inside or outside the

claims.” 470:13-16; see also 440:17-23, Dr, Boyd reached the same conclusion. 306:22-307:10,.

Amegen’s evidence does not support a contrary determination.

a. Amgen Improperly Focused on the PCSK9 Antigen to Identity
“Common Structural Features” of the Claimed Antibodies.

Amgen’s experts principally identified structural features not of the claimed antibodies-—-
for example, amino acid sequence-—-but of the claimed antigen, PCSK9, This should come as no
surprise, for the 2008 Application defines and describes the “sweet spot” residues on PCSK9 (the
antigen), not the “sweet spot” residues on the claimed antibodies themselves as the law requires.
Thus, when asked (on direct) to identify the “common structural feature” of the claimed
antibodies, Dr. Rees phrased his answer in terms of the so-called “sweet spot”—the residues on
PCSK9 where the claimed antibodies bind. Specifically, he stated that “the common structural
feature is that antibodies that bind across the sweet spot must have complementary features that
enable them to bind across that sweet spot.” 772:18-23 (emphases added), Likewise, Dr. Petsko
testified on direct that “if you know the structure of the sweet spot like this, you ... would know
that antibodies that have a shape that’s complimentary to the structure of the sweet spot .., will
bind.” 645:4-9 (emphases added). But these assertions simply attempt to “claim antibodies by
describing something that is not the invention, i.e., the antigen.” Amgen, 872 F.3d at 1378.

Dr. Rees’s testimony in particular underscores the legal deficiency of Amgen’s position.
Despite asserting that “antibodies that bind across the sweet spot .., must have complementary

features that enable them to bind across that sweet spot,” 772:18-21, Dr. Rees never identified

what those “complementary features” of the antibodies are—except that they supposedly “must”

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Case 1:14-cv-01317-RGA Document 905 Filed 03/25/19 Page 16 of 28 PagelD #: 74859

be in service to the common function of binding to the “sweet spot.” In other words, according
to Dr. Rees, the common structure is the common function, in that all antibodies that bind in the
desired way must share whatever degree of structure that allows them to bind in that way. That
is simultaneously circular and incompatible with the reality that function and structure are not
synonymous, Moreover, Dr. Rees’s circular, conclusory assertion does not allow a skilled
artisan to “distinguish the genus from other materials,” Ariad, 598 F.3d at 1350, because he does
not actually identify a structural feature common to the claimed antibodies.

Amgen’s attempt to demonstrate that “the art has established a correlation between
structure and function,” id., also comes up short, because the evidence only supports the opposite
conclusion: there is no known correlation between an antibody’s structure (ie., amino acid
sequence) and its function (7.¢., binding properties). Dr. Rees admitted that knowing “the amino
acid sequence of an antibody” does not “tell you the property of where it binds.” 797:22-25.
Likewise, Dr. Petsko acknowledged that “antibodies with different amino acids sequences”—7.e.,
different structures-—“certainly can” “perform the same functions,” 637:23-638:1, 639:5-8, and
that one cannot “write down a sequence” “from the function.” 699:14-17; see also 309:5-11 (Dr.
Boyd testifying that “[t]here’s no way to make that sort of a link between the sequence ... and
binding, just from knowing the sequence itself’), In short, the uncontroverted evidence
demonstrated what Judge Stark recently observed in MorphoSys AG v. Janssen Biotech, Inc., __
F. Supp. 3d __, No, 16-221-LPS, 2019 WL 337091 (D, Del. Jan. 25, 2019): “an antibody’s
sequence cannot be used to predict its binding properties.” fd. at *7. And because of this
“undisputed lack of a known relationship between an antibody’s structure (its sequence) and its

function (its binding properties), the only reasonable conclusion is that the specification does not

11

 
Case 1:14-cv-01317-RGA Document 905 Filed 03/25/19 Page 17 of 28 PagelD #: 74860

sufficiently disclose structural features common to the members of the genus.” Jd. at *g 7

b. Amgen Failed to Identify “Common Structural Features” of
the Claimed Antibodies.

When it came time to identify structural features common to the claimed antibodies—i.e.,
what the “common structural features” test actually requires—Amgen’s evidence was tellingly
meager and equally insufficient. The alleged “common structural features” that Amgen
identified (1) relied on information unavailable to the skilled artisan as of the priority date, and
(2) did not distinguish the claimed antibodies “from other materials.” Ariad, 598 F.3d at 1350.

In showing that Amgen did not satisfy the “common structural features” test, Defendants’
experts concluded that there are no common structural features between, infer alia, 1A12 and the
Competitor Antibodies. See pp. 10, supra. Dr. Rees responded by relying on one-to-one
comparisons between the crystal structures of 1A12 and the Competitor Antibodies, 787:23-
789:18; Ex. 4 (PDXR25,38-.39). But Dr. Rees admitted that those crystal structures were not
available to a skilled artisan as of the January 2008 priority date. 788:13-789:14. And “without
access to the crystal structure data,” Dr. Rees conceded, “of course you can’t ... generate images
of this sort” Jd.* The structural features identified by Dr. Rees are thus “not properly
considered.” MorphoSys, 2019 WL 337091, at *8. Indeed, MorphoSys is directly on point. That

case likewise involved functional genus claims to antibodies where the only “common structural

 

7 Amgen also argued that there is a structure-function correlation because antibodies that bind to
the “sweet spot” necessarily block the PCSK9/LDLR interaction. 632:15-21; see also 629:14-21.
But Amgen is simply describing two functions. See 649:1-9 (Dr. Petsko describing “bind[ing] to
the sweet spot” as a “function[] of the claim”). Merely asserting (at most) a function-function
correlation does not provide a structure-function correlation,

® Even if the 1A12 crystal structure data had been disclosed in the 2008 Application, Dr. Rees
would not have been able to carry out his analysis because the crystal structure data for the
Competitor Antibodies was not yet available, nor was anything known about the Competitor
Antibodies in the prior art. 788:8-18 (Praluent), 789:5-18 (1D05, AX132, J16). And even Dr.
Rees’s own testimony would only support commonality between one of the Amgen Antibodies
(1A12) and the Competitor Antibodies, not the entire genus. See Ariad, 598 F.3d at 1350.

12

 
Case 1:14-cv-01317-RGA Document 905 Filed 03/25/19 Page 18 of 28 PagelD #: 74861

feature” that the patentee identified was based on a comparison of a disclosed antibody to a post-
priority-date antibody. Judge Stark found that the identified structural feature “was not properly
considered because it relie[d] on knowledge that a POSA did not have at the priority date of the
patents—-namely, [the infringing product]’s amino acid sequence and the knowledge that [the
infringing product] binds to [the target protein].” Jd. So too here. Amgen cannot, ex post, look
to post-priority-date evidence to identify common structural features; it must find them in the
2008 Application and show how they distinguish claimed antibodies from unclaimed antibodies.

The same flaw, and more, dooms Amgen’s other attempt to demonstrate structural
features common to the antibodies—its evidence regarding the so-called “greasy patch” on the
claimed antibodies. 645:20-647:9. As Dr. Eck testified without contradiction, the alleged
“greasy patch” is not described in the 2008 Application. See 455:14-15. In addition, the
uncontroverted evidence showed that “almost all antibodies have a greasy spot on their tips.”
804:16-19; 309:16-310:1. Consequently, this feature does not permit a skilled person to
“distinguish the genus from other materials.” Ariad, 598 F.3d at 1350. |

B. There Was No Legally Sufficient Evidentiary Basis For a Reasonable Jury to
Conclude that the Claims Satisfy the Enablement Requirement,

Enablement “serves the dual function ... of ensuring adequate disclosure of the claimed
invention and of preventing claims broader than the disclosed invention.” MagSil Corp. v.
Hitachi Glob, Storage Techs., Inc., 687 F.3d 1377, 1380-81 (Fed. Cir, 2012). “To be enabling,
the specification of a patent must teach those skilled in the art how to make and use the full
scope of the claimed invention without ‘undue experimentation.” Jd. at 1380. Thus, “a patentee
chooses broad claim language at the peril of losing any claim that cannot be enabled across its
fuli scope of coverage.” Jd. at 1381. Enablement “is a question of law,” id., and courts have not

hesitated to find non-enablement as a matter of law. See Everlight, 896 F.3d at 1358 (reversing

 

13
Case 1:14-cv-01317-RGA Document 905 Filed 03/25/19 Page 19 of 28 PagelD #: 74862

denial of JMOL of non-enablement); [denix Pharm. LLC y. Gilead Scis., Inc., No. 14-846-LPS,
2018 WL 922125 (D. Del. Feb, 16, 2018) (granting JMOL of non-enablement). Here, JMOL
that the Claims are not enabled is warranted for two independent reasons. First, the vast majority
of antibodies within the full scope of the Claims are impossible to make. Second, the Wands
factors demonstrate that practicing the full scope of the Claims requires undue experimentation.”

1. The Vast Majority of Antibodies Within the Full Scope of the
Claims Are Impossible to Make.

The Federal Circuit has held that claims are not enabled when embodiments within the
scope of the claims are “impossible” to make. Everlight, 896 F.3d at 1364. Thus, in Everlight,
the Federal Circuit held that the asserted claims were not enabled because they were drafted to
cover six enumerated permutations, but one of those embodiments was “impossible” to make. Jd.

Here, Amgen itself asserts that there are only “a small number of antibodies” that can be made

 

that are within the scope of the Claims. 731:16-17. Amgen therefore concedes that the vast
majority of antibodies within the scope of the claims—at least tens of thousands if not millions—
are impossible to make because, according to Amgen, the claims cover “a smal] number of
antibodies,” not much more than the 30 known antibodies. 731:8-732:8.

Amgen’s own witnesses agreed there are antibodies specified by the claims that are
impossible to make. For example, when asked about making “bridging” antibodies, Dr. Rees
testified that he does not “believe [such an antibody] would exist.” 796:21. Similarly, when
asked whether Amgen ever invented an antibody that binds to only D238, Amgen’s lead inventor
Jackson testified that “[a]n antibody wouldn’t bind if it’s just binding with one amino acid

residue, it wouldn’t have the binding strength.” 540:7-21. Yet Amgen’s Claims indisputably

 

° The two asserted claims (claims 7 and 15 of the 7165 patent) that the jury found invalid for lack
of written description are also invalid for lack of enablement for the reasons discussed herein.

14

 
Case 1:14-cv-01317-RGA Document 905 Filed 03/25/19 Page 20 of 28 PagelD #: 74863

cover “bridging” antibodies, as well as antibodies that bind to only one “sweet spot” residue on
PCSE9.

Accepting Amgen’s assertion that no more antibodies could be found even after limitless
research, only 0.09% of the claimed embodiments could ever be made—the other 99.9% of the
claimed embodiments are impossible to make by Amgen’s own admission.'° The circumstances
here are thus far more egregious than in Everlight, where one “impossible” embodiment out of
six was sufficient to find the claims not enabled. Amgen’s Claims specify tens of thousands, if
not millions, of antibodies, virtually al/ of which Amgen admits are impossible to make. For this
reason alone, the Claims are not enabled.

2. The Wands Factors Establish that Practicing the Full Scope of the
Claims Requires Undue Experimentation.

To determine whether a patent requires “undue experimentation” in order to practice the
“full scope” of the claimed invention, thereby demonstrating non-enablement, courts commonly
evaluate the Wands factors. See, e.g., MorphoSys, 2019 WL 337091, at *12 (citing cases); Zn re
Wands, 858 F.2d 731 (Fed. Cir. 1988). Here, the Wands factors point ineluctably toward undue
experimentation, requiring a conclusion of non-enablement.

a. Breadth of the Claims.

The Claims are purely functional and encompass an immense number of antibodies:
every antibody in the universe (of which there are “at least 10 to the 15" power,” according to
Dr. Boyd’s unrebutted testimony, 223:17-18) that binds to at least one or two of 15 recited
“sweet spot” PCSK9 residues. The Claims specify af feast tens of thousands of different

antibodies and, according to Dr. Boyd, encompass potentially millions. Amgen’s expert Dr.

 

© The 0.09% is derived from 30 (the known antibodies) divided by 32,752 (the number of
possible combinations of residues that could be bound for claims 19 and 29 of the *165 patent).

15

 
Case 1:14-cv-01317-RGA Document 905 Filed 03/25/19 Page 21 of 28 PagelD #: 74864

Rees agreed that any one of “the millions of antibodies that Dr. Boyd described” could “fall
within the claims.” See 733:2-11; 219:20-220:14 pp. 4, supra. Unquestionably, then, “each
claim covers a very large number of antibodies.” AMorphoSys, 2019 WL 337091, at *10.

b. Nature of the Invention; State of the Art; Relative Skill of
Those in the Art; Predictability of the Art.

There is no serious dispute that as of the 2008 priority date, generating antibodies to bind
to a particular location on an antigen protein was highly unpredictable, because even the most
highly skilled person could not determine an antibody’s function (7.e., where it will bind) from its
structure (i.¢., its amino acid sequence), or vice-versa. See pp. 11-12, supra; ef AbbVie, 759
F,3d at 1301 (characterizing antibody development as “highly unpredictable”); MorphoSys, 2019
WL 337091, at *12 (observing that a skilled person “would not be able to predict the function of
these antibodies from their sequences”). And it is undisputed that making changes to amino acid
sequence—-even through conservative substitutions that are less likely to change antibody
function than non-conservative substitutions, see 388:21-389:2-——can still result in changes to
function that cannot be predicted ex ante. See 638:8-9 (Dr. Petsko testifying that “small changes
in sequence can make big changes in structure and in some cases function”); 388:21-389:8
(Amgen co-inventor Dr. Mehlin testifying that “sometimes what you think is a conservative
mutation is not conservative at all ... in terms of the protein function”); see also 688:21-689:4
(Petsko); 220:19-221:1 (Boyd); cf Wyeth & Cordis Corp. v. Abbott Labs., 720 F.3d 1380, 1385
(Fed. Cir. 2013) (finding no enablement because “even minor alterations to the [disclosed]
molecule could impact its [functional] properties”). The inability of even the most skilled person
to predict antibody structure from function, or vice-versa, is precisely why Dr. Rees conceded
that to determine if generated antibodies fall within the scope of the Claims, “you'd have to test”

all such antibodies to see if any of them bound to the specified PCSK9 residues. 779:5-14.

16

 
Case 1:14-cv-01317-RGA. Document 905 Filed 03/25/19 Page 22 of 28 PagelD #: 74865

c. Number of Working Examples; Amount of Direction Provided.

The 2008 Application discloses, at most, 26 antibodies. Furthermore, those 26 examples
are “largely unhelpful,” because they “do not teach a POSA how to predict from an antibody’s

sequence whether it will bind to” the specified PCSK9 residues, AforphoSys, 2019 WL 337091,

 

at *12; see also 765:15-16, 797:22-25, And neither the specification nor the examples “improve

a POSA’s ability to discover any of the countless antibodies within the scope of the claims.” Jd;

 

see 779:5-14 (Recs admitting that “you’d have to test” antibodies to know whether they fall
within the scope of the Claims). Instead, as set forth below, to make and use the “full scope” of
the Claims, a skilled person “would have to do essentially the same amount of work as the
inventors,” id—namely, engaging in the trial-and-error processes of either generating millions of
antibodies or engaging in the equally unpredictable process of changing antibody structure (and
thus function) by substituting amino acids, both of which require testing to determine if the
resulting antibodies fall within the scope of the Claims,

d. Quantity of Experimentation Needed

|
The quantity of experimentation required to make and use the full scope of the Claims is
vast. As Dr, Rees acknowledged, a skilled artisan cannot just “take an antibody and convert it
into a different antibody just by doing some computer design.” 795:17-20. Instead, to make new
antibodies within the scope of the Claims, a skilled artisan must either (1) randomly generate
pools of antibodies, see 329:16-24, or (2) make substitutions to known antibodies, see 219:10-16,
then, in either case, the artisan must test those resulting antibodies to determine whether they
satisfy the functional limitation of binding to specified PCSK9 residues. These approaches
demand an extraordinary amount of experimentation, As Dr. Rees conceded, testing “millions”

of antibodies is “an enormous amount of work” and not “practical”; indeed, no “antibody

scientist”—-even one possessing exceptional skill in the art—“would even contemplate doing

17

 
Case 1:14-cv-01317-RGA Document 905 Filed 03/25/19 Page 23 of 28 PagelD #: 74866

that.” 733:7-11; 780:1-3, 781:10-14; see MorphoSys, 2019 WL 337091, at *12 (explaining that
“obtaining antibodies within the claims” would “require substantial time and effort”).

Under the first approach, thousands if not millions of antibodies are randomly generated
using transgenic mice or phage display libraries. See id. at *10. This technique is highly
unpredictable, for it is impossible to ensure that one has generated an antibody that will bind to a

‘particular location on an antigen (like the specified PCSK9 residues) without testing every
antibody that is randomly generated. See 329:2-13. Even then, there is no chance of success if
the desired antibody was never made in the random generation. 329:10-24. As Dr. Boyd
explained, this “trial and error” approach “rel[ies] on fishing in randomized pools of antibodies
and hoping you get the. kinds of ones you’re interested in.” 329:16-24. That is precisely why
Amgen’s competitors “came up with antibodies that are quite different from the ones that Amgen
found”—because “everybody was roiling the dice and they got different ones.” 330:5-10. This
“trial and error” approach—which directs a skilled artisan to start over and make and test new
antibodies—is the antithesis of an enabling disclosure. See Wyeth, 720 F.3d at 1385 (no
enablement where “practicing the full scope of the claims would require synthesizing and
screening each of at least tens of thousands of compounds”); ALZA Corp. v. Andrx Pharm, ELC,
603 F.3d 935, 941 (Fed. Cir. 2010) (no-enablement where POSA “would have been required to
engage in an iterative, trial-and-error process to practice the claimed invention”).

Amgen did not (and could not) seriously dispute the foregoing. At most, Dr, Rees
asserted that by following the “roadmap” in the specification—which he acknowledged requires
“[glenerat[ing] [a] pool of antibodies” by immunizing mice, 739:15-18—one is “certain to make
all of the claim’s antibodies including the defendant’s examples.” 762:18-19. But that does not

alter the fact that the amount of trial-and-error experimentation necessary to produce the “full

18

 
Case 1:14-cv-01317-RGA Document 905 Filed 03/25/19 Page 24 of 28 PagelD #: 74867

scope” of the genus is extraordinary, not least because a skilled person would have to not only
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“make all” of the antibodies, but fest all of them as well. Further, it is undisputed that Amgen
had possession of this “roadmap” as early as August 2007, yet it still never identified antibodies
within the full scope of its Claims, including the Competitor Antibodies, 501:2-514:18; 546:23-
24; 791:1-7;-327:1-328:2. And Amgen admitted that to re-make its own disclosed antibodies, it
“wouldn’t have been very practical” to use its “roadmap” to do so. 790:4-19. Likewise, when
Dr. Petsko was asked whether it was possible to have a “bridging” antibody—an antibody that
binds to residues on the far sides of the “sweet spot” but none in the middle—he acknowledged
that such an antibody would be covered by the Claims and that “it should be possible to make
antibodies” with that feature. 692:1-693:20. But instead of looking to Amgen’s so-called
“roadmap” as a means for making such antibodies—-as one might expect if the specification

enabled the full scope of the Claims—Dr. Petsko testified that “one might be able to conceive a

research plan that would allow you to do that.” 694:23-695:4. Cf Dawson v. Dawson, 710 F.3d

1347, 1352 (Fed. Cir. 2013) (noting that a “research plan” is insufficient to establish enablement).

The second approach~—making substitutions in the amino acid sequences of disclosed
antibodies—yields the same conclusion. The 2008 Application provides a table of “preferred”
substitutions that can be made to known antibodies to generate additional antibodies purportedly
within the Claims’ scope. 218:16-219:7. But as Dr. Boyd testified, undertaking these Amgen-
directed substitutions would quickly result in “easily ... millions” of potential antibodies—far
more than the tens of thousands of antibodies the Claims specify simply by listing the
combinations of residues to which they bind. 349;3-12; see also 350:13-22 (explaining that if
other suggestions in the patent were followed, “you would get an astronomically large number”

of different antibodies); ’165 patent at [0216]. Amgen did not dispute this; its own expert agreed

19
Case 1:14-cv-01317-RGA Document 905 Filed 03/25/19 Page 25 of 28 PagelD #: 74868

that any one of “the millions of antibodies that Dr. Boyd described” could “fall within the
claims,” but “you’d have to test” to determine if they fall within the Claims’ scope. 733:2-11;
see 778:23-779:14, And as noted, making even conservative changes to amino acid sequence
can have unpredictable effects on binding properties. See p. 16, supra.

Finally, vast experimentation would be required to determine which antibodies are within
the scope of the Claims and which are impossible to make. As noted, based on Amgen’s own
evidence, 99.9% of the claimed embodiments are impossible to make, thus rendering the claims
non-enabled. See pp. 14-15, supra. But even if some, or most, of the 99.9% of undisclosed
embodiments are in fact possible to make and are merely unknown, it remains that the only way

for a skilled person to find these unknown embodiments is to undertake the “time-consuming,”

“trial-and-error” process of making and testing untold millions of antibodies. MorphoSys, 2019 |

WL, 337091, at *14, As Amgen concedes, that task is such “an enormous amount of work” that
no “antibody scientist would even contemplate doing” it. 733:7-11, 781:10-14.

&. Summary of Wands Factors

Application of the foregoing Wands factors compels the conclusion that, as a matter of
law, making and using the “full scope” of the Claims requires “undue experimentation,”
defeating enablement. MagSi/, 687 F.3d at 1380-81. “Where, as here, the claims recite
functional limitations that cover countless embodiments in an unpredictable field,” and “a POSA
could not determine a new composition’s functional properties solely from its structure,” the
specification must do more than place a POSA at ‘a starting point ... for further research’ and
instruct them to ‘engage in an iterative, trial-and-error process.”” MorphoSys, 2019 WL 337091,
at *12 (quoting ALZA, 603 F.3d at 941). Yet “that is essentially what the patents here do.” Jd.

Vv. CONCLUSION

For the foregoing reasons, the Court should grant JMOL for Defendants.

20

 
Case 1:14-cv-01317-RGA Document 905 Filed 03/25/19 Page 26 of 28 PagelD #: 74869

Dated: March 18, 2019

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Respectfully submitted,

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Case 1:14-cv-01317-RGA Document 905 Filed 03/25/19 Page 27 of 28 PagelD #: 74870

22

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Case 1:14-cv-01317-RGA Document 905 Filed 03/25/19 Page 28 of 28 PagelD #: 74871

APPENDIX
Claims 19 and 29 of the 7165 patent:

An antibody could satisfy the claim by binding to residues $153 and 1154; or to $153 and
P155; or to S153, 1154, and P155; and so forth. There are two possibilities for each
residue (bound or unbound) and 15 PCSK9 residues recited in each of these claims,
therefore the total is equal to a 15-digit binary number:

25 =32,768 total combinations

There are 15 combinations where only one residue is bound, and one combination where

vero residues are bound.
15+1=16

These combinations do not meet the claim. Limiting the claim to combinations where “at
least two” residues are bound rernoves these 16 combinations:

32,768 - 16 = 32,752
Claim 7 of the °741 patent:

Possible combinations that would meet this claim include but are not limited to R237;
D238; R237 and D238; R237 and $153; or D238 and P155; and so forth.

Excluding R237 and D238, there are 14 other PCSK9 residues recited in the Claims,
therefore the total number of combinations bound to zero or more of these residues is
equal to a 14-digit binary number:

2"4 = 16,384
To meet claim 7, an antibody can bind to (1) only R237, (2) only D238 or (3) both R237
and D238. For each of these three possibilities, there are 16,384 combinations of PCSK9
residues that could be bound.

Together, this would be 49,152 combinations:

3x 2! =49152

 
